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                                          ORDERED.


         Dated: May 29, 2019




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


In re:                                                           Case No.: 6:18-01216
                                                                 Chapter 7
Angel L Davila
Rosybelle Velazquez-Rivera

Debtors                          /

                 ORDER GRANTING MOTION TO SELL REAL PROPERTY
               AND PAY SECURED CREDITORS AND TRANSACTIONAL COSTS
                          (C-60 Valles de Santa Olaya Bayamon, PR)

          THIS CASE came before the court to consider Chapter 7 Trustee, Arvind Mahendru’s
(“Trustee”) Motion to Sell Real Property and Pay Secured Creditors and Transactional Costs (the
“Motion”) (Dkt. No. 23). The Motion was served upon all interested parties with the Local Rule
2002-4 negative notice legend informing the parties of their opportunity to respond within 21 days
of the date of service; no party filed an objection within the time permitted; and the Court therefore
considers the Application unopposed. Accordingly, it is:
          ORDERED and ADJUDGED as follows:
          1.      The notice of the Motion is approved as proper and adequate under the circumstances.
          2.      The Motion is GRANTED.
          3.      The Trustee is authorized to sell the real property located at:

          C-60 Valles de Santa Olaya Bayamon, PR (the “Property”).
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       4.      The Trustee is authorized to pay the secured mortgage creditor, Banco Popular,

(“Secured Creditor”) the amount of their lien as of the date of closing or other amount agreeable

to Banco Popular to release their lien.

       5.      The Trustee is authorized to take any all actions and to execute any and all

documents necessary and appropriate to effectuate and consummate the terms of said sale,

including, executing a deed conveying the interests of the Debtors in the Real Property to

Jessenia Ocasio and/or his assigns or other disinterested, bona fide purchaser (the “Buyer”).

       6.      The Trustee, and any escrow agent upon the Trustee’s written instruction, shall be

authorized to make such disbursements on or after the closing of the sale as are required by the

purchase agreement or order of this Court, including, but not limited to, (a) all delinquent real

property taxes and outstanding post-petition real property taxes pro-rated as of the closing with

respect to the real property included among the purchased assets; and (b) other anticipated

closing costs (estimated below):

       Total Sales/Brokers Commission:
               2% to BK Global                                                $1,700.00
               4% to Prmier Properties                                        $3,400.00
       *commission is anticipated to be shared with cooperating agent
       Title Charges:                                                         $1,524.00
       Transfer Taxes:                                                        $863.00
       Other / Debits (incl. 506(c) surcharge)                                $5,000.00
       Satisfaction of Liens:
                         (home mortgage)                                      $71,863.00


       Without further order of the court, the Trustee is authorized to pay closing costs in amounts

different than the estimated amounts described above so long as they are within industry standard

and with the consent of the lienholder, Secured Creditor.

       7.      Except as otherwise provided in the Motion, the Real Property shall be sold,

transferred, and delivered to Buyers on an “as is, where is” or “with all faults” basis.
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       8.      The Trustee is authorized to pay the real estate agent’s fees in the total amount of

$5,100.00 or 6% of the gross sale price from the proposed sale of the property.

       9.      This Court retains jurisdiction to enforce and implement the terms and provisions

of this Order and the purchase agreement, all amendments thereto, any waivers and consents

thereunder, and each of the documents executed in connection therewith in all respects, including

retaining jurisdiction to (a) compel delivery of the Real Property to the Buyer(s), (b) resolve any

disputes arising under or related to the purchase agreement, and (c) resolve any disputes

regarding liens, claims, or interests asserted against the Real Property.

       10.     The purchase agreement and any related documents or other instruments may be

modified, amended or supplemented by the parties thereto, in a writing signed by both parties

without further order of the Court, provided that any such modification, amendment or

supplement does not have a material adverse effect on the Debtors’ bankruptcy estate.

       11.     The 14 day stay period pursuant to Rule 6004(h) is waived and this Order shall be

effective and enforceable immediately upon entry.

Arvind Mahendru, Trustee, is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.
